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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION


UNITED STATES OF AMERICA                                                            PLAINTIFF


v.                                   No. 4:17cr00319-02 JM


NATHANIEL BURROUGHS                                                              DEFENDANT


                                            ORDER

       The motion to allow defendant to travel to attend funeral (Docket No. 44) is hereby

referred to United States Magistrate Judge Jerome T. Kearney.

       IT IS SO ORDERED this 29th day of November, 2018.




                                                   JAMES M. MOODY JR.
                                                   UNITED STATES DISTRICT JUDGE
